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                       IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                     (ATHENS DIVISION)

 CERTUSBANK, N.A-, as successor by
 assignment to FIRST GEORGIA BANKING
 COMPANY,

         Plaintiff,                                      CIVIL ACTION
                                                         NO. 3:12-cv-00046-CDL
 v.



 MLJJ PROPERTIES, LLC,
 MARTIN J. MULLIGAN, and
 LINDA D. CHAMBERLIN,

        Defendants.


                          AFFIDAVIT OF MARTIN I. MULLIGAN


       Personally appeared before the undersigned officer duly authorized by law to administer

oaths, Martin J. Mulligan, and, upon first being duly sworn, states as follows:

                                                 1.


       I am over the age of eighteen (18) years, and otherwise competent to testify, and I make

this declaration upon my own personal knowledge.




       I am a member, manager and officer ofMLJJ Properties, LLC.

                                                 3.


       On or about May 22, 2009,1 executed and delivered to First Georgia Banking Company,

on behalf of MLJJ Properties, LLC, a promissory note in the original principal amount of

approximately $245,000.00.
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        During my numerous interactions with First Georgia Banking Company between May of

 2009 and May of 2011,1 never corresponded with and/or met anyone named Tom Crawford.

        Further affiant sayeth not, this /y day ofApril, 2013.




 Sworn to and subscribed before me
this \Q    day of April, 2013.



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  fommisston expires: rf/jK/
